        Case 17-40179   Doc 77   Filed 09/25/18   Entered 09/25/18 12:46:52   Desc Main Document   Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  IN RE:                                                        §
                                                                §
  PAYSON PETROLEUM 3 WELL, LP,                                  §        Case No. 17-40179-btr
  A TEXAS LIMITED PARTNERSHIP,                                  §
                                                                §        Chapter 7
                   Debtor.                                      §
                                                                §

                    NOTICE OF WITHDRAWAL OF PROOF OF CLAIM

       NOW COMES Loewinsohn Flegle Deary Simon LLP (“LFDS”) and notifies the Court

and all other parties that it is withdrawing its claim in this case. LFDS filed its claim on or about

May 9, 2017, in the amount of $33,519.77, which claim is designated as claim number 11 on the

claims register. That claim is no longer owed by the Debtor. Therefore, LFDS hereby

withdraws its claim 11.



DATED: September 25, 2018                              Respectfully submitted,

                                                       /s/ Daniel P. Winikka
                                                       Daniel P. Winikka (TX 00794873)
                                                       LOEWINSOHN FLEGLE DEARY
                                                       SIMON LLP
                                                       12377 Merit Drive, Suite 900
                                                       Dallas, TX 75251
                                                       Telephone: (214) 572-1700
                                                       Facsimile: (214) 572-1717
                                                       danw@lfdslaw.com
       Case 17-40179   Doc 77   Filed 09/25/18   Entered 09/25/18 12:46:52   Desc Main Document   Page 2 of 2




                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies, that on this 25th day of September, 2018, he caused to
be served a true and correct copy of this Notice of Withdrawal of Proof of Claim, by
electronically filing it with the Court using the CM/ECF system, which sent notification to all
parties of interest participating in the CM/ECF system.


                                                                         /s/ Daniel P. Winikka
                                                                         Daniel P. Winikka
